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AO 245B   (Rev. 06/05) Judgment in Criminal Case
          Sheet 2 — Imprisonment

                                                                                                     Judgment — Page   2       of   6
DEFENDANT:                   M ILTON JARM ON
CASE NUMBER:                 4:07cr00049-03 JM M


                                                               IM PRISONM ENT


            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:    ONE HUNDRED SIXTY EIGHT (168) months.

      X    The court makes the following recommendations to the Bureau of Prisons:
           The defendant shall participate in educational and vocational programs.
           Defendant shall serve his term of imprisonment at a facility in or near Fort Worth, Texas.


      G    The defendant is remanded to the custody of the United States Marshal.

      G    The defendant shall surrender to the United States Marshal for this district:

           G a                                     G a.m.      G p.m.         on                                           .

           G as notified by the United States Marshal.

      X    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           X    before 2 p.m.         M onday, January 5, 2009           .

           X    as notified by the United States Marshal.

           G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




           Defendant delivered                                                           to

at                                                  , with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                             By
                                                                                                DEPUTY UNITED STATES MARSHAL
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